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13
                                      UNITED STATES DISTRICT COURT
14
                                  NORTHERN DISTRICT OF CALIFORNIA
15
     SEOUL SEMICONDUCTOR CO., LTD., and                         Case No: 3:22-cv-02869-TLT
16   SEOUL VIOSYS CO., LTD.,
                                                                DEFENDANT FINELITE, INC.’S
17                      Plaintiffs,                             MOTION TO STAY LITIGATION
     v.                                                         PENDING APPEAL TO NINTH
18                                                              CIRCUIT OF THIRD PARTY
     FINELITE, INC.,                                            COMPLAINT
19
                        Defendant.
20                                                              Hon. Trina L. Thompson
     --------------------------------------------------------
21                                                              Date: May 9, 2024
     FINELITE, INC.,
22                                                              Time: 2:00 p.m.
                        Third-Party Plaintiff,
23                                                              Location: Courtroom 9, 19th Floor
     v.
24

25   SAMSUNG SEMICONDUCTOR, INC.,

26                      Third-Party Defendant.

27

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 1   I.      Notice of Motion
 2           Defendant/Third-Party Plaintiff Finelite, Inc. (“Finelite”) hereby notices this motion to

 3   stay all proceedings related to this case pending a final resolution of Finelite’s appeal to the

 4   Ninth Circuit Court of Appeals of this Court’s Order granting Finelite’s motion for entry of

 5   final judgment. This motion is to be heard on May 9, 2024 at 2:00 p.m. in Courtroom 9, 19th

 6   Floor before the Honorable Trina L. Thompson.

 7           As set forth more fully below, this Court should grant this Motion because proceeding

 8   with the underlying infringement claims before the Ninth Circuit makes a final determination

 9   as to the obligations of Samsung Semiconductor, Inc. (“Samsung”) risks multiplication of

10   proceedings and grave prejudice to Finelite. The prejudice to Finelite includes (i) being forced

11   to defend itself against claims related to allegedly infringing light emitting diodes (“LEDs”)

12   that it neither designed nor manufactured, but were designed and manufactured by Samsung,

13   and (ii) incurring related litigation costs that are crippling in any patent infringement action,

14   but are especially so here due to the inefficiencies of having to defend another’s technology.

15   Conversely, proceeding with the underlying infringement claims after the Ninth Circuit makes

16   a final determination of Samsung’s obligations ensures that this Court has before it all of the

17   parties who are best suited to efficiently defend Plaintiffs’ claims and pay a potential judgment.

18   And the prejudice to Plaintiffs, if any, is minimal because any judgment in their favor must be

19   limited to monetary relief insofar as Samsung continues to manufacture, offer to sell, sell and

20   distribute the accused infringing LEDs completely unimpeded by any effort of Plaintiffs to

21   stop it. Thus, if the sale of LEDs is causing Plaintiffs any harm at all, that harm certainly is not

22   irreparable because Plaintiffs have allowed Samsung to sell them unabated. Finally, the

23   interests of judicial economy and efficiency are best served by a stay because in the event of a

24   reversal on appeal, it makes sense for Plaintiffs’ claims against Finelite and Finelite’s claims

25   against Samsung to be tried together. Accordingly, this Court should grant Finelite’s Motion

26   to Stay.

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 1   II.      Relevant Procedural History
 2            Plaintiffs filed this case on May 13, 2022 and filed the operative Second Amended

 3   Complaint in this matter on February 17, 2023. ECF No. 93. Therein Plaintiffs allege that

 4   Finelite is infringing fourteen patents relating to LEDs. See ECF No. 93 at ¶¶ 1, 11–24. On

 5   November 29, 2022, Finelite filed a Third-Party Complaint against Samsung, the party that

 6   manufactures the accused LEDs and sells them to Finelite. ECF No. 71 at ¶ 8. Finelite’s Third-

 7   Party Complaint sought to enforce a defense and indemnity obligation contained in contracts

 8   between Finelite and Samsung, id. at ¶¶ 9, 14, 15, and asserted causes of action for breach of

 9   contract, breach of the California Commercial Code, and declaratory judgment. Id. at Counts

10   One through Three.

11            On September 26, 2023, this Court entered an order granting Samsung’s Motion for

12   Summary Judgment and denying Finelite’s Cross-Motion for Summary Judgment. See ECF

13   Nos. 105, 111, 112 and 142. Shortly thereafter, Finelite moved for entry of final judgment as

14   to Finelite’s claims against Samsung pursuant to Federal Rule of Civil Procedure 54(b), which

15   this Court granted on January 12, 2024. See ECF Nos. 148 and 179. On February 8, 2024,

16   Finelite filed a Notice of Appeal to the U.S. Court of Appeals for the Ninth Circuit. ECF No.

17   183. Finelite’s appeal is currently pending. ECF No. 184 (assigning case number 24-711).

18   Finelite’s opening appellate brief is due on May 2, 2024, and Samsung’s answering brief is

19   due on June 3, 2024.

20   III.     Applicable Legal Standard
21            The standard for a motion to stay is set forth in the Supreme Court’s decision in Landis

22   v. North Am. Co., 299 U.S. 248 (1936). “Although Landis is generally applied where there is

23   a request to stay proceedings pending a decision in a different case (this was true in Landis

24   itself), Landis broadly states that ‘the power to stay proceedings is incidental to the power

25   inherent in every court to control the disposition of the causes on its docket with economy of

26   time and effort for itself, for counsel, and for litigants.’” 23andMe, Inc. v. Ancestry.com DNA,

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 1   LLC, No. 18-CV-02791-EMC, 2018 WL 5793473, at *3 (N.D. Cal. Nov. 2, 2018), aff’d, 778
 2   F. App’x 966 (Fed. Cir. 2019). Indeed, courts have routinely applied Landis where a party
 3   requests a stay based on an appeal of a Rule 54(b) final judgment. See, e.g., Mott v. Lucas, No.
 4   1:10-CV-0164, 2011 WL 3705131, at *4 (N.D. Ohio Aug. 23, 2011) (stating that, “[s]ince the
 5   Court is granting, in part, Plaintiff's motion for Rule 54(b) certification, the Court finds that it
 6   is in the interest of justice to stay all trial court proceedings pending a decision by the Court of
 7   Appeals on Plaintiff's appeal,” citing Landis in support); Nat’l Union Fire Ins. Co. v. Ready
 8   Pac Foods, Inc., No. CV 09-3220 RSWL (MANx), 2011 WL 1790033, at *5 (C.D. Cal. May
 9   9, 2011) (“STAY[ing] further proceedings in this case pending resolution of any appeal taken
10   from the Rule 54(b) Judgment” (citing Landis)).
11           As set forth in Landis, courts should “consider[] the hardships that would be suffered
12   by the parties if a stay were or were not granted, as well as judicial economy.” 23andMe, Inc.,
13   2018 WL 5793473, at *3. This includes “the possible damage which may result from the
14   granting of a stay, the hardship or inequity which a party may suffer in being required to go
15   forward, and the orderly course of justice measured in terms of the simplifying or complicating
16   of issues, proof, and questions of law which could be expected to result from a stay.” Lockyer
17   v. Mirant Corp., 398 F.3d 1098, 1110 (9th Cir. 2005). In doing so, the Court must weigh
18   competing interests and maintain an even balance. Colorado River Water Conservation Dist.
19   v. United States, 424 U.S. 800, 817 (1976). If a district court certifies claims for appeal pursuant
20   to Rule 54(b), it should stay all proceedings on the remaining claims if the interests of
21   efficiency and fairness are served by doing so. Doe v. Univ. of California, No. C-92-2284
22   (SAW), 1993 WL 361540, at *2 (N.D. Cal. Sept. 2, 1993); Matek v. Murat, 638 F. Supp. 775,
23   784 (C.D. Cal. 1986) (staying district court proceedings pending appeal following entry of
24   judgment pursuant to Fed. R. Civ. P. 54(b) “in the interests of efficiency and fairness”).
25           Factors to consider when determining whether to grant a motion to stay include: “(1)
26   the interest of the plaintiffs in proceeding expeditiously with this litigation or any particular
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 1   aspect of it, and the potential prejudice to plaintiffs of a delay; (2) the burden which any
 2   particular aspect of the proceedings may impose on defendants; (3) the convenience of the
 3   court in the management of its cases, and the efficient use of judicial resources; (4) the interests
 4   of persons not parties to the civil litigation; and (5) the interest of the public in the pending
 5   civil and criminal litigation.” Keating v. Office of Thrift Supervision, 45 F.3d 322, 324–25 (9th
 6   Cir. 1995); see also Blue Cross & Blue Shield of Ala. Unity Outpatient Surgery Ctr., Inc., 490
 7   F.3d 718, 724 (9th Cir. 2007).
 8   IV.     Argument
 9           A stay pending resolution of Finelite’s appeal would conserve the resources of this
10   Court and the parties, while also ensuring that Plaintiffs’ claims against Finelite proceed with
11   a final determination of the indemnification issue between Finelite and Samsung that currently
12   clouds these proceedings. As explained further below, Plaintiffs will not be harmed if the Court
13   grants Finelite’s motion to stay, but without a stay Finelite will be forced to defend Plaintiffs’
14   infringement claims without Samsung’s assistance when, in actuality, Samsung is far better
15   equipped to defend its own technology. The alleged infringing LEDs were designed and
16   manufactured by Samsung - not Finelite - underscoring that this dispute is really between
17   Plaintiffs and Samsung. Finelite is merely a pawn in their dispute. Additionally, without a stay,
18   Finelite will be forced to continue expending significant time, money, and effort to defend
19   claims for which Samsung may ultimately be responsible. Accordingly, the Court should grant
20   Finelite’s Motion to Stay.
21   A.      Plaintiffs will not be harmed if a stay is granted
22           Plaintiffs will not suffer any harm if the Court stays this case at least because they
23   would not be entitled to an injunction even if they prevail on any of their infringement claims,
24   and there is no basis to believe that Finelite would be unable to pay a monetary award.
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 1           1.        Injunctive relief is not available to Plaintiffs
 2           Monetary damages should be the only remedy available with respect to Plaintiffs’

 3   infringement claims.

 4                     a)     Plaintiffs have allowed – and continue to allow – Samsung to
                              manufacture, offer to sell, sell and distribute the allegedly
 5                            infringing LEDs unchallenged
 6           In view of Plaintiffs’ acquiescence to Samsung’s continued commercialization of the

 7   alleged infringing LEDs, any harm to Plaintiffs resulting from the alleged infringement, if any,

 8   cannot be irreparable harm and Plaintiffs’ remedies of law must be deemed adequate. In Apple,

 9   Inc. v. Samsung Elecs., Co., 735 F.3d 1352, 1359 (Fed. Cir. 2013), the court defined the

10   standard for obtaining an injunction against patent infringement as follows:

11           In accordance with the principles of equity, a plaintiff seeking a permanent
             injunction ‘must demonstrate: (1) that it has suffered an irreparable injury; (2)
12           that remedies available at law, such as monetary damages, are inadequate to
             compensate for that injury; (3) that, considering the balance of hardships
13           between the plaintiff and defendant, a remedy in equity is warranted; and (4)
             that the public interest would not be disserved by a permanent injunction.’
14

15   In addition, “the issues of irreparable harm and adequacy of remedies at law are inextricably

16   intertwined.” ActiveVideo Networks, Inc. v. Verizon Comms., Inc., 694 F.3d 1312, 1337 (Fed.

17   Cir. 2012).

18           Plaintiffs accuse Finelite of infringing the patents-in-suit based on Finelite’s purchase

19   of six LEDs from Samsung. The six accused infringing LEDs are sold by Samsung under

20   model no. LM561B Plus, have a Color Rendering Index or “CRI” of 80 or 90, and a Correlated

21   Color Temperature or “CCT” of 3000K, 3500K, and 4000K (collectively “the Accused
                                       1
22   LEDs”). See Exhibits A and O. Samsung continues to promote the Accused LEDs and offer

23   them for sale via its website. Samsung’s current website provides for downloading the

24   information necessary to select and purchase the Accused LEDs, including “Data Sheets,”

25
     1
26    Exhibits A–O cited herein are attached to the Declaration of Justyn P. Stokely filed herewith.
     Finelite requests that the Court take judicial notice of Exhibits A–F, M and N attached to the
27   Stokely Declaration. See Finelite’s Request for Judicial Notice filed herewith.
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 1   “Application Notes,” and “Design Files.” See Exhibits A and B. The website also includes a
 2   “Where to Buy” button that, in turn, leads a user to Samsung’s “Sales Network” webpage
 3   where a user can input a state within the United States, wherein the webpage will in turn
 4   identify where and from whom the LEDs can be purchased within the selected state. See
 5   Stokely Declaration at ¶¶ 7–9; Exhibits C, D, and E. Samsung’s “Sales Network” webpage for
 6   the State of California lists multiple “Distributors & Reps” within California where the LEDs
 7   may be purchased. The Samsung “Sales Network” webpage identifies Future Electronics as
 8   one such distributor, whose webpage is https://www.futureelectronics.com/. See Stokely
 9   Declaration at ¶ 9; Exhibit E. An exemplary screenshot of the Future Electronics webpage lists
10   for sale several of the Accused LEDs, including the “LM561B+ 80 CRI” at 3000K, 3500K and
11   4000K, and provides pricing information and “Add To Cart” functionality to enable the
12   purchase of such LEDs. See Exhibit F. Thus, an injunction against Finelite in this case would
13   do nothing to stop the manufacture, offering for sale and sale of the Accused LEDs by
14   Samsung.
15           Plaintiffs could seek to stop the infringement by bringing suit against Samsung, but,
16   for some reason, they refuse to do so. Indeed, Plaintiffs and Samsung seem to have made some
17   sort of pact whereby they forbear from bringing suit against each other regardless of their
18   alleged infringement of each other’s patents, but otherwise trap unwary purchasers of their
19   products who must then defend or settle at their own costs claims that should be asserted and
20   defended by the competing owners of the disputed patents. Further evidence of this macabre
21   deal is the recently-filed Samsung Electronics, Inc. v. Technical Consumer Prods., Inc. d/b/a
22   TCP Lighting, et al., No. 23-186-JNR (D. Del.), where Samsung sued TCP Lighting, a
23   customer of Plaintiffs, alleging that Seoul Semiconductor’s LEDs infringe Samsung’s patents.
24   As in the case before this Court, TCP Lighting filed a third-party complaint against Seoul
25   Semiconductor for, inter alia, breach of contract based on Seoul Semiconductor’s failure to
26   defend and indemnify it, further demonstrating that, at their core, these disputes are really
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 1   between Plaintiffs and Samsung. See Exhibit G (TCP Lighting’s third-party complaint seeking
 2   an indemnification and defense by Seoul Semiconductor against Samsung’s claims that Seoul
 3   Semiconductor’s LEDs infringe its patents).
 4           Moreover, because Samsung continues to manufacture, offer to sell and sell the
 5   Accused LEDs, there is no risk that evidence will become stale or lost. See Modoral Brands,
 6   Inc. v. Swedish Match N.A., LLC, Nos. 2:21-CV-05013 (SB), 2:20-CV-05729 (SB), 2022 WL
 7   2188539, at *3 (C.D. Cal. Mar. 1, 2022) (stating that a “loss of evidence” argument must be
 8   supported by evidence and not based on conclusory or speculative assertions).
 9           Plaintiffs’ refusal to take any action against Samsung to terminate its manufacture,
10   offering for sale and sale of the allegedly infringing LEDs demonstrates that, if there is any
11   harm resulting from Finelite’s purchase of such LEDs from Samsung, it is not irreparable harm,
12   and monetary damages are adequate to compensate for the alleged injury, if any.
13                     b)   Plaintiffs did not seek a preliminary injunction in this case
14           Considering the totality of the facts, Plaintiffs’ failure to seek a preliminary injunction
15   strongly reinforces that the alleged infringement is not causing Plaintiffs any harm for which
16   monetary damages would be inadequate. See MercExchange, LLC v. eBay, Inc., 500 F. Supp.
17   2d 556, 573 (E.D. Va. 2007) (concluding that failure to seek preliminary injunctive relief in
18   patent infringement action “is yet another factor in the calculus indicating both that [plaintiff]
19   is not being irreparably harmed by [defendant’s] infringement and that money damages are
20   adequate”) (citing PGBA, LLC v. United States, 389 F.3d 1219, 1229–31 (Fed. Cir. 2004)).
21   Indeed, Plaintiffs have gone years without complaining of Finelite’s use of the Accused LEDs.
22   Finelite has been purchasing them from Samsung since 2016 but Plaintiffs did not take action
23   until 2022. Plaintiffs cannot obtain injunctive relief for this additional reason.
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 1                     c)    Plaintiffs have licensed                                to third
                             parties and therefore will be unable to establish irreparable harm
 2                           or inadequacy of a legal remedy for this additional reason
 3           Multiple courts have held this factor to work against a finding of irreparable harm. In

 4   ActiveVideo Networks, Inc., the Federal Circuit concluded that where the plaintiff broadly

 5   licensed its technology, including to the defendant, a finding of irreparable harm was clearly

 6   erroneous. Id. at 1339–40. The court also highlighted the fact that the parties were not

 7   competitors and noted that this fact likewise weighed against a finding of irreparable harm. See

 8   id. at 1340. Moreover, in Apple, Inc., when assessing adequacy of a legal remedy, the court

 9   found “no error in the district court’s decision to consider evidence of Apple’s past licensing

10   behavior.” Apple, Inc., 735 F.3d at 1370. Although the court concluded that the trial court

11   failed to adequately analyze the licensing issue as it pertained to the defendant in that case, it

12   noted numerous factors related to licensing that weigh against an injunction, including when

13   the licensee is not a competitor, when the alleged infringer is not a competitor, and when

14   licenses have been granted to settle pending litigation. See id.

15           Here, Plaintiffs have licensed         of the fourteen patents in suit, and have granted

16   licenses                                                                                    . The

17   following chart displays which patents in this lawsuit Plaintiffs have licensed to third parties:

18    Exhibit               Title/Description             Patents in        Relevant Licensing
        No.                                                  Suit               Language
19    Ex. H at
      p. 4, §
20    2.1
21

22

23

24

25    Ex. I at
      p. 3, §
26    2.1
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 5    Ex. J
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10
      Ex. K p.
11    2, § 3.

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16    Ex. L, p.
      3, § 2.1
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24            The                 referenced in the table above have resulted in

25                                            , further evidencing the adequacy of money damages

26   and lack of irreparable harm. See ActiveVideo Networks, Inc., 694 F.3d at 1340 (holding that

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 1   district court erred in issuing injunction on patent infringement claims as availability of an on-
 2   going royalty payment defeated argument of irreparable harm). Moreover, the
 3                                                                                                    ,
 4   demonstrates that the Plaintiffs are willing to license                             . Such a fact
 5   counsels against irreparable harm and, thus, against an injunction, because it shows that the
 6   Plaintiffs are willing to
 7

 8                                                       in LEDs Magazine. See Exhibits M and N.
 9
10                        .
11           Plaintiffs cannot reasonably argue that Finelite’s sale of the Accused LEDs has caused
12   irreparable harm for which monetary relief is inadequate because their
13   history proves otherwise. And thus, a short delay to permit the Samsung appeal to be decided
14   in no way prejudices Plaintiffs.
15           2.        There is no evidence Finelite would be unable to pay a money judgement
16           Because Plaintiffs are not entitled to an injunction, the only remedy available to them
17   in the event of a judgment in their favor is monetary relief. Although a stay may delay their
18   ability to collect a judgment for a brief period of time, such delay does not weigh against the
19   requested stay. This is true primarily because there is no evidence in the record that Finelite
20   would be unable to pay a monetary judgment. See ActiveVideo Networks, Inc., 694 F.3d at
21   1340 (concluding no irreparable harm and highlighting that “[t]here are no concerns about
22   [defendant’s] inability to pay.”). Indeed, in opposition to Finelite’s recent Administrative
23   Motion (ECF No. 181), Plaintiffs highlighted the fact that Finelite’s parent company, Legrand,
24   “has been involved in responding to Seoul’s numerous warning letters” and that “Legrand is
25   an international conglomerate with revenue of almost 7 billion Euros and total assets of 14
26   billion Euros.” ECF No. 182 at 3 n.3. Thus, Plaintiffs cannot plausibly take the position that a
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 1   brief delay caused by the requested stay would render Finelite unable to pay a potential money
 2   judgment. In addition, and further ameliorating the impact of any delay resulting from a stay,
 3   Plaintiffs may be entitled to pre-judgment interest in the event they succeed on their
 4   infringement claims. ECF No. 93 at Prayer for Relief, ¶ F. As the risk of prejudice to Plaintiffs
 5   from a stay of this matter pending appeal is minimal at most, this factor weighs in favor of
 6   granting Finelite’s requested stay.
 7   B.        Absent a stay, Finelite faces the risk of substantial prejudice
 8             The underlying infringement claims are still in their relatively early stages – fact and
                                                                                   2
 9   expert discovery are ongoing and dispositive motions are due in October. See ECF No. 190.
10   However, it is likely that discovery will close during the pendency of Finelite’s appeal. If,
11   following the appeal, Samsung is brought back into this case, discovery will then need to be
12   reopened to allow for proper and complete discovery, which will result in duplicative
13   discovery efforts and increased costs. Proceeding without a final determination of whether
14   Samsung owes a defense and indemnity obligation to Finelite puts Finelite in the position of
15   expending significant resources that may, ultimately, be the responsibility of Samsung.
16             In addition to the cost, the fact remains that Finelite does not manufacture the
17   Accused LEDs, but Samsung does. And Samsung carefully controls the information needed
18   to defend Plaintiffs’ claims, which information is uniquely within Samsung’s possession and
19   control. The pending appeal is designed to reverse an interpretation of the contract terms and
20   conditions between Finelite and Samsung that insulates Samsung from having to defend its
21   technology. Finelite will suffer hardship by being forced to inefficiently defend the
22   infringement claims without the assistance of Samsung. Finelite should not be required to
23   assume this burden unless and until this Court’s summary judgment rulings are upheld.
24   Requiring Finelite to proceed before such time could be detrimental to Finelite as the
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     2
27       The trial date is currently set for March 3, 2025.
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 1   litigation progresses, both in terms of costs and litigation strategy. Thus, this factor weighs in
 2   favor of granting a stay of the infringement claims pending resolution of the appeal.
 3           Finally, because the Plaintiffs and Samsung have some “arrangement” not to sue each
 4   other, they have created the situation now before this Court. They should not now be heard to
 5   complain about a problem they created and that either or both could readily solve simply by
 6   litigating their disputes against each other and not through unsuspecting proxies.
 7   C.      Judicial economy and efficiency favor a stay
 8           Staying this matter until a final determination of Samsung’s obligations by the Circuit
 9   Court will ultimately result in more efficient proceedings in this Court. First, if it is
10   determined that Samsung must defend and indemnify Finelite, the chances of settlement
11   significantly increase. Although, of course, no such outcome can be guaranteed, it is
12   reasonable to believe that if Samsung is faced with the reality of actively participating in this
13   litigation, including defending against Plaintiffs’ claims, and Plaintiffs are faced with the
14   reality of litigating against Samsung, these claims may well resolve. Intel Corp. v. Tela
15   Innovations, Inc., No. 3:18-CV-02848 (WHO), 2021 WL 783560, at *11 (N.D. Cal. Mar. 1,
16   2021) (granting a motion to stay pending appeal and recognizing the possibility that the
17   landscape could materially shift following appeal and that the “the prospects of settlement
18   may have too and there may not be any trial on the remaining claims at all”).
19           Second, the requested stay would not be prejudicial to the Court. Fact and expert
20   discovery are not set to close until June 26, 2024 and September 19, 2024, respectively,
21   dispositive motions will not be heard until December 10, 2024, and the trial date is not until
22   March 3, 2025. See ECF No. 190. Accordingly, this matter is in an early enough stage where
23   a stay pending resolution of the appeal that will decide who in fact is responsible for
24   defending Plaintiffs’ claims and, if necessary, ultimately paying a judgment would not
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 1   prejudice the Court or the parties. Therefore, the factor of convenience to the Court and
                                                                                           3
 2   efficient use of judicial resources weighs in favor of granting the requested stay.
 3   V.          Conclusion
 4               A stay of the infringement claims pending Finelite’s appeal related to the third-party
 5   indemnification claims will not prejudice Plaintiffs, will save Finelite from significant
 6   prejudice, and will best serve the interests of judicial economy and efficiency. Accordingly, as
 7   the balance of equities tips clearly in favor of a stay, this Court should grant Finelite’s motion.
 8
         Date:      March 5, 2024                      /s/ Thomas J. Rechen
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22                                                    Attorneys for Defendant and Third-Party
                                                      Plaintiff Finelite, Inc.
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26      Finelite maintains that the factors of interests of persons not parties to the litigation and
     interests of the public do not weigh in favor or against either party and, therefore, does not
27   analyze such factors in this Motion.
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